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                   Exhibit 19F
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                             Preliminary Approval Hearing
                                        April 25, 2012


Mr. Rice
Page       Line        Text
20         20-22       If you don’t have a presumption of causation, then what we’ll be
                       looking for in the settlement process is a percentage of loss from 2010,
                       from your historic revenue.
25 & 26    21-25 & 1   Here in Zone B, where the first percentage comes in, we’re looking for
                       a drop in revenue during the spill period compared to the benchmark
                       period of 8 1/2%, and then some return in 2011 timeframe to say it was
                       affected by the spill.
27         1-7         Generally in the business concept, you can pick three or more
                       consecutive months. You can pick any three months, so if you had, you
                       know, you had a good [sic. Bad] month in there that doesn’t add in;
                       that’s one of the differences with what the GCCF is doing, you had to
                       add everything. Here you can pick the three months that you want to
                       use or you can pick more and compare it to your benchmark period.
Mr. Roy
Page       Line        Text
60         12          The real point here, Your Honor, is that over the many months of this
                       negotiation, a great deal of time was put in to trying to objectively
                       quantify the relief of virtually any given category of claimant. We
                       would respectfully submit we’ve succeeded in that.
Mr.
Godfrey
Page       Line        Text
81         12          Let me begin by stating that we agree with the Plaintiffs’ Steering
                       Committee that these two settlements are comprehensive. They are
                       far-reaching. They are designed to be transparent and objective, and
                       most importantly, they are intended in design to fairly and adequately
                       compensate those who were injured as a result of the oil spill in this
                       tragic casualty.
86         11-13       I think it is an understatement to say that the settlement is the result of
                       extensive negotiations conducted at arm’s length.

           16 – 22     But the mere fact that we had worthy adversaries who seldom agreed
                       on everything, but when you look at those settlement documents we
                       filed, every single word, every single comma, every single colon—and
                       we know that because we had disagreements about what they meant
                       sometimes—were negotiating many times for far longer than I had
                       hoped, but they were negotiated nevertheless.
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87         9         Third the Settlement does not improperly grant preferential treatment.
                     To the contrary it has unique features that guarantee its fairness and
                     adequacy in providing meaningful benefits to class members. These
                     compensation frameworks, which were negotiated heavily by Ms.
                     Bloom on my team and Mr. Rice, and Mr. Holstein and me and others,
                     are tailored for each category of damage.
91         6         Each settlement is a result of serious informed negotiations.
